
TUCKER, P.
C. G. Reynolds was a dis-tributee, and clearly incompetent unless rendered competent by releases. Janey v. Blake’s adm’r, 8 Leigh 88. He was interested in preventing the recovery of the plaintiff. To get rid :of this interest, he executed a release. Suppose it good and sufficient for that end: he had a further interest that the defendant’s costs in the action, which were payable out of the estate, should be . reimbursed *by a judgment against the plaintiff, unless the liability of his distributable share for a portion of them was released. T-o effect this, a release from the administrator to him of that liability would have been proper. Rowt’s adm’r v. Kyle’s adm’r, Gilm. 202. I do not see how his release to-the administrator can have removed this difficulty. Had he released his whole interest, as the court thought he should do, there could be no question: but as he has not done so,- — -as his release was only of his interest in that controversy, a release from the administrator seems to have been also necessary. If so, the rejection of the evidence was right, and the judgment should be affirmed.
PER CURIAM, Judgment affirmed.
